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                     UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION

                                                *
UNITED STATES OF AMERICA                        *
                                                *
              v.                                *   CR 1:17-34
                                                *
Reality Leigh Winner                            *
                                                *
        Defendant                               *


                    ORDER ON MOTION FOR LEAVE OF ABSENCE

       David C. Aaron, having made application to the Court for a leave of absence, and it

being evident from the application that the provisions of Local Rule 83.9 have been complied

with, and no objections having been received;

       IT IS HEREBY ORDERED THAT David C. Aaron be granted leave of absence for

the following periods: March 21-23, 2018 and March 26, 2018.

       This ___ day of _________, 2018



                                                    __________________________________
                                                    J. RANDALL HALL, CHIEF JUDGE
                                                    UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF GEORGIA
